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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

FEDER.AL EXPRESS CORPORATION,
Plaintiff,

vs. 01-2503 Ma/P

ACCU-SORT SYSTEMS, INC.,

Defendant.

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ORDER GRANTING FEDERAL EXPRESS'S MOTION FOR PROTECTIVE ORDER AN'D

DEN'YING AS MOOT NON-PARTIES UNITED PARCEL SERVICE, INC. AND DAVID

DECOOK’S EMERGENCY MOTION FOR PROTECTIVE ORDER AND CROSS-MOTION
FOR PROTECTIVE ORDER

 

Before the court, by order of reference, are plaintiff Federal
Express Corporation's (“Fed Ex”) Motion for Protective Order As to
Deposition of David Cook, filed May 4, 2005 (dkt #525), and non-
parties United Parcel Service, Inc. (“UPS”) and David DeCook's
Emergency Motion for Protective Order, filed May 6, 2005 (dkt #531)
and Cross-Motion for Protective Order, filed May 6, 2005 (dkt
#532). Accu-Sort filed its response in opposition to Fed Ex’s
motion for protective order on May ll, 2005. On May 13, 2005, the
court held a hearing on these motions. Counsel for all parties
Were present and heard. At the conclusion of the hearing, the
court GRANTED Fed Ex's motion for protective order and DENIED as

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moot UPS and DeCook's emergency motion and cross-motion, for the
following reasons:

At the center of all of these motions is the proposed
deposition of David DeCook, a former employee of UPS who now
resides in Geogia. According to Accu-Sort, DeCook has information
about facts relating to the period of time when AOA (presumably
with Fed Ex’s knowledge) installed, tested, and operated its MSDS
at a UPS hub for the express purpose of selling MSDS's to UPS. On
March 16, 2005, Accu-Sort for the first time disclosed DeCook as a
person with knowledge by supplementing its October 3, 2001
disclosures to Fed Ex. On April 7, 2005, Accu-Sort issued a
subpoena for the deposition of DeCook.1 Fed Ex opposes the
deposition on the basis that the discovery is untimely under the
federal rules as well as in violation of District Judge Mays’s
January 25, 2005 order extending discovery and continuing the
trial.

This court agrees that the discovery is untimely and violates
Judge Mays’s January 25 order. First, the parties appeared before
District Judge Mays for a status conference on January 25. Judge
Mays continued the trial to July 18, 2005, to allow the parties to

conclude fact and expert discovery. According to the transcript of

 

1Although the subpoena was issued in the Northern District
of Georgia, at the May 13 hearing, all counsel agreed to have
this court rule on their dispute surrounding DeCook’s deposition.

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that conference, Judge Mays extended the fact discovery period to
April 15, 2005, only on “pending discovery motions and whatever is
in the Rule 30(b){6). That's what the fact discovery is.” At no
time prior to the January 25 conference did Accu-Sort raise the
issue of DeCook's deposition with Fed Ex or the court. In fact,
although Accu-Sort had known for several years that DeCook was a
person with knowledge, it did not disclose DeCook until March 15,
2005. Thus, Judge Mays’s order did not extend discovery with
respect to DeCook.

Second, the discovery sought by Accu-Sort is after the
discovery deadline has passed. It is well settled that a court may
deny a party the opportunity to obtain discovery if the information
is sought after the close of discovery. Overnite Transp. Co. v.
Int'l Bhd. Of Teamsters, NO. 99-2747, 200l WL 1910054, *l (W.D.
Tenn. Oct. 26, 2001) (unpublished); Medtronic Sofamor Danek, Inc.
v. Osteotech, Inc., No. 99-2656, 2001 WL 1910058, at *4 (W.D. Tenn.
Sept. 21, 2001) (unpublished); see also Banks v. CBOCS West, Inc.,
NO. Ol-C-O785, 2004 WL 723767, *2 (N.D. lll. Apr. l,
2004)(unpublished); Willis v. New World ‘Van Lines, Inc., 123
F.Supp.2d 380, 401 (E.D. Michi 2000)(Citing Ginett v. Federal
Express Corp., 166 F.3d 1213 (6th Cir 1998)). Although there may
be good cause to excuse an untimely request for discovery under
certain circumstances, Accu-Sort has not sufficiently demonstrated

to the court that allowing an extension of discovery is appropriate

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in this case. This litigation has been pending since June 2001,
and the trial {which has been continued on several occasions) is
only two months away. Accu-Sort has known about DeCook for years,
and yet did not make any prior efforts to depose DeCook. Although
Accu-Sort recently changed lead counsel, that does not justify an
extension of the discovery deadline. Moreover, although there was
a pending discovery dispute between Fed Ex and UPS regarding Fed
Ex’s subpoena for documents from UPS, that pending dispute
certainly did not bar Accu-Sort from deposing DeCook. Finally; the
parties have already obtained written discovery and taken several
depositions of Fed Ex and AOA witnesses regarding AOA’s
demonstration of MSDS to UPS. In Accu-Sort’s response brief and at
the May 13 hearing, other than generally stating that it believes
that DeCook has information. about the MSDS demonstration and
information that would support its damages expert, Accu-Sort has
failed to demonstrate to the court that the deposition of DeCook is
so critical that it somehow justifies reopening discovery at this
stage in the litigation.

Therefore, Fed Ex's motion for protective order is GRANTED.
UPS and DeCook’s motion for protective order and cross-motion are

DENIED as moot.2

 

2The motion before the court relates only to the issue of
whether Accu-Sort may depose DeCook outside of the fact discovery
period. This order does not preclude the parties from calling
DeCook as a witness at trial. According to Fed Ex, it intends to
file a motion to exclude DeCook and other Accu-Sort witnesses at
a later date.

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TU M. PHAM
United States Magistrate Judge

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lT IS SO ORDERED.

Date

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Honorable Samuel Mays
US DISTRICT COURT

